                      Case 1:24-cr-10173-DJC
2-6   5HYLVHG86'&0$        Document 51-1               Filed 06/13/24            Page 1 of 8
Criminal Case Cover Sheet                                                             U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.         II                    Investigating Agency                DEA

City     Tewksbury, Methuen, Lowell              5HODWHG&DVH,QIRUPDWLRQ
                                                 6XSHUVHGLQJ,QG,QI                     &DVH1R
County       Middlesex and Essex
                                                 6DPH'HIHQGDQW    X                1HZ'HIHQGDQW
                                                 0DJLVWUDWH-XGJH&DVH1XPEHU 24-8116-PGL

                                                 6HDUFK:DUUDQW&DVH1XPEHU see additional info
                                                 5 5IURP'LVWULFWRI
Defendant Information:
                                                 ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                                                  22-10090-DJC, 22-10054-ADB
                                                  K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                               ✔ <HV         1R

'HIHQGDQW1DPH       Reginel CAZARES                                                                        -XYHQLOH          G <HV       ✔ 1R
                                      ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                    G <HV       ✔ 1R
$OLDV1DPH          Junior

$GGUHVV             Tucson, Arizona

                      1988
%LUWKGDWH <URQO\ BBBBBB                6323
                               661 ODVW  BBBBB          M
                                                        6H[BBBBBB               W
                                                                            5DFHBBBBBBBBBBBBBBB                        W
                                                                                                            1DWLRQDOLW\ BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:          Mark W. Shea                                    $GGUHVV 929 Massachusetts Ave, Suite 200

%DU1XPEHU         558319                                                                      Cambridge, Massachusetts 02139

U.S. Attorney Information

$86$       Samuel R. Feldman                                          %DU1XPEHULIDSSOLFDEOH 681659

Interpreter:              <HV      ✔ 1R                              /LVWODQJXDJHDQGRUGLDOHFW

Victims:            <HV      ✔ 1R         ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV        1R

Matter to be SEALED:                  <HV        ✔ 1R
    :DUUDQW5HTXHVWHG              ✔ 5HJXODU3URFHVV                   ,Q&XVWRG\

/Rcation Status:

$rrest Date           February 27, 2024

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                     LQ                                            
    $OUHDG\LQ6WDWH&XVWRG\DW                                                     6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
✔ 2Q3UHWULDO5HOHDVH        2UGHUHGE\      Hon. Myong J. Joun                       RQ     March 18, 2024

Charging Document:                    &RPSODLQW                 G ,QIRUPDWLRQ                           ✔,QGLFWPHQW

Total # of Counts:                  G 3HWW\                     G 0LVGHPHDQRU                           ✔ )HORQ\ 2

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 6/13/2024                              6LJQDWXUHRI$86$
                     Case 1:24-cr-10173-DJC                       Document 51-1             Filed 06/13/24   Page 2 of 8
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Reginel Cazares a/k/a "Junior"
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                    Count Numbers
                                                       Conspiracy to Distribute and to Possess with Intent
6HW
          21 U.S.C. § 846
                                                       to Distribute Controlled Substances                       1

6HW
          18 U.S.C. § 1956(h)                          Money Laundering Conspiracy                               2
          21 U.S.C. § 853                              Drug Forfeiture
6HW

          18 U.S.C. § 982(a)(1)                        Money Laundering Forfeiture
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21

 23-8317-PGL; 23-8397, 8398, 8399-PGL; 24-8102, 8103, 8104-PGL; 24-8117, 8118, 8119, 8120-PGL;
 24-8143, 8144, 8145, 8146, 8147, 8148, 8149, 8150, 8151, 8152, 8153-PGL




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
                      Case 1:24-cr-10173-DJC
2-6   5HYLVHG86'&0$       Document 51-1               Filed 06/13/24            Page 3 of 8
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.        II                    Investigating Agency                DEA

City     Tewksbury, Methuen, Lowell             5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                     &DVH1R
County       Middlesex and Essex
                                                6DPH'HIHQGDQW    X                1HZ'HIHQGDQW
                                                0DJLVWUDWH-XGJH&DVH1XPEHU 24-8116-PGL

                                                6HDUFK:DUUDQW&DVH1XPEHU see additional info
                                                5 5IURP'LVWULFWRI
Defendant Information:
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                                                 22-10090-DJC, 22-10054-ADB
                                                 K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                              ✔ <HV         1R

'HIHQGDQW1DPH       Luis Ramon FELIZ SANTANA                                                              -XYHQLOH          G <HV       ✔ 1R
                                      ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                   G <HV       ✔ 1R
$OLDV1DPH          "Luis Felix," "Michael Corleone"

$GGUHVV             Methuen, Massachusetts

                      1983
%LUWKGDWH <URQO\ BBBBBB                3138
                               661 ODVW  BBBBB         M
                                                       6H[BBBBBB               White
                                                                           5DFHBBBBBBBBBBBBBBB           1DWLRQDOLW\ BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:          Scott F. Gleason                               $GGUHVV 163 Merrimack Street

%DU1XPEHU         195000                                                                     Haverhill, Massachusetts 01830

U.S. Attorney Information

$86$       Samuel R. Feldman                                         %DU1XPEHULIDSSOLFDEOH 681659

Interpreter:               <HV     ✔ 1R                             /LVWODQJXDJHDQGRUGLDOHFW

Victims:             <HV     ✔ 1R        ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV        1R

Matter to be SEALED:                  <HV       ✔ 1R
    :DUUDQW5HTXHVWHG                 5HJXODU3URFHVV              ✔,Q&XVWRG\

/Rcation Status:

$rrest Date           February 27, 2024

✔ $OUHDG\LQ)HGHUDO&XVWRG\DVRI        February 28, 2024                             LQ     Wyatt Detention Facility               
    $OUHDG\LQ6WDWH&XVWRG\DW                                                    6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH     2UGHUHGE\                                               RQ

Charging Document:                     &RPSODLQW               G ,QIRUPDWLRQ                           ✔,QGLFWPHQW

Total # of Counts:                  G 3HWW\                    G 0LVGHPHDQRU                           ✔ )HORQ\ 2

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 6/13/2024                             6LJQDWXUHRI$86$
                     Case 1:24-cr-10173-DJC                       Document 51-1             Filed 06/13/24   Page 4 of 8
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Luis Ramon FELIZ SANTANA a/k/a "Luis Felix" a/k/a "Michael Corleone"
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                    Count Numbers
                                                       Conspiracy to Distribute and to Possess with Intent
6HW
          21 U.S.C. § 846
                                                       to Distribute Controlled Substances                       1

6HW
          18 U.S.C. § 1956(h)                          Money Laundering Conspiracy                               2
          21 U.S.C. § 853                              Drug Forfeiture
6HW

          18 U.S.C. § 982(a)(1)                        Money Laundering Forfeiture
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21

 23-8317-PGL; 23-8397, 8398, 8399-PGL; 24-8102, 8103, 8104-PGL; 24-8117, 8118, 8119, 8120-PGL;
 24-8143, 8144, 8145, 8146, 8147, 8148, 8149, 8150, 8151, 8152, 8153-PGL




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
                      Case 1:24-cr-10173-DJC
2-6   5HYLVHG86'&0$        Document 51-1               Filed 06/13/24            Page 5 of 8
Criminal Case Cover Sheet                                                             U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.         II                    Investigating Agency                DEA

City     Tewksbury and Methuen                   5HODWHG&DVH,QIRUPDWLRQ
                                                 6XSHUVHGLQJ,QG,QI                     &DVH1R
County       Middlesex and Essex
                                                 6DPH'HIHQGDQW                     1HZ'HIHQGDQW
                                                 0DJLVWUDWH-XGJH&DVH1XPEHU 24-8116-PGL

                                                 6HDUFK:DUUDQW&DVH1XPEHU see additional info
                                                 5 5IURP'LVWULFWRI
Defendant Information:
                                                 ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                                                  22-10090-DJC, 22-10054-ADB
                                                  K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                               ✔ <HV         1R

'HIHQGDQW1DPH       Cesar PARRA                                                                            -XYHQLOH          G <HV       ✔ 1R
                                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                   G <HV       ✔ 1R
$OLDV1DPH          "Flow"

$GGUHVV             Methuen, Massachusetts

                      1995
%LUWKGDWH <URQO\ BBBBBB                4220
                               661 ODVW  BBBBB          M
                                                        6H[BBBBBB               W
                                                                            5DFHBBBBBBBBBBBBBBB                        USA
                                                                                                            1DWLRQDOLW\ BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:          Jefferey Miller                                 $GGUHVV 60 Leo M Birmingham Parkway, Suite 103

%DU1XPEHU         670561                                                                      Boston, Massachusetts 0213

U.S. Attorney Information

$86$       Samuel R. Feldman                                          %DU1XPEHULIDSSOLFDEOH 681659

Interpreter:              <HV      ✔ 1R                              /LVWODQJXDJHDQGRUGLDOHFW

Victims:            <HV      ✔ 1R         ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV        1R

Matter to be SEALED:                   <HV       ✔ 1R
    :DUUDQW5HTXHVWHG              ✔ 5HJXODU3URFHVV                   ,Q&XVWRG\

/Rcation Status:

$rrest Date           February 27, 2024

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                     LQ                                            
    $OUHDG\LQ6WDWH&XVWRG\DW                                                     6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
✔ 2Q3UHWULDO5HOHDVH        2UGHUHGE\      Hon. Paul G. Levenson                    RQ     February 28, 2024

Charging Document:                     &RPSODLQW                G ,QIRUPDWLRQ                           ✔,QGLFWPHQW

Total # of Counts:                  G 3HWW\                     G 0LVGHPHDQRU                           ✔ )HORQ\ 1

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 6/13/2024                              6LJQDWXUHRI$86$
                     Case 1:24-cr-10173-DJC                       Document 51-1             Filed 06/13/24   Page 6 of 8
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Cesar PARRA a/k/a "Flow"
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                    Count Numbers

6HW
          18 U.S.C. § 1956(h)                          Money Laundering Conspiracy                               1
          18 U.S.C. § 982(a)(1)                        Money Laundering Forfeiture
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21

 23-8317-PGL; 23-8397, 8398, 8399-PGL; 24-8102, 8103, 8104-PGL; 24-8117, 8118, 8119, 8120-PGL;
 24-8143, 8144, 8145, 8146, 8147, 8148, 8149, 8150, 8151, 8152, 8153-PGL




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
                      Case 1:24-cr-10173-DJC
2-6   5HYLVHG86'&0$       Document 51-1               Filed 06/13/24            Page 7 of 8
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense:                          Category No.       II                    Investigating Agency                DEA

City     Tewksbury, Methuen, Lowell             5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                     &DVH1R
County       Middlesex and Essex
                                                6DPH'HIHQGDQW    X                1HZ'HIHQGDQW
                                                0DJLVWUDWH-XGJH&DVH1XPEHU 24-8116-PGL

                                                6HDUFK:DUUDQW&DVH1XPEHU see additional info
                                                5 5IURP'LVWULFWRI
Defendant Information:
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                                                 22-10090-DJC, 22-10054-ADB
                                                 K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                              ✔ <HV         1R

'HIHQGDQW1DPH       Jesus LOPEZ MEDINA                                                                    -XYHQLOH          G <HV       ✔ 1R
                                      ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                   G <HV       ✔ 1R
$OLDV1DPH
$GGUHVV             Bakersfield, California

                      1991
%LUWKGDWH <URQO\ BBBBBB 661 ODVW  BBBBB         M
                                                       6H[BBBBBB               White
                                                                           5DFHBBBBBBBBBBBBBBB                        Mexico
                                                                                                           1DWLRQDOLW\ BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:          Stephen G. Huggard                             $GGUHVV 101 Arch Street 8th Floor

%DU1XPEHU         622699                                                                     Boston, Massachusetts 02110

U.S. Attorney Information

$86$       Samuel R. Feldman                                         %DU1XPEHULIDSSOLFDEOH 681659

Interpreter:          ✔ <HV           1R                            /LVWODQJXDJHDQGRUGLDOHFW Spanish

Victims:             <HV     ✔ 1R        ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV        1R

Matter to be SEALED:                  <HV       ✔ 1R
    :DUUDQW5HTXHVWHG                5HJXODU3URFHVV               ✔,Q&XVWRG\

/Rcation Status:

$rrest Date           February 29, 2024

✔ $OUHDG\LQ)HGHUDO&XVWRG\DVRI         May 3, 2024                                  LQ     Wyatt Detention Facility               
    $OUHDG\LQ6WDWH&XVWRG\DW                                                    6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH     2UGHUHGE\                                               RQ

Charging Document:                    &RPSODLQW                G ,QIRUPDWLRQ                           ✔,QGLFWPHQW

Total # of Counts:                  G 3HWW\                    G 0LVGHPHDQRU                           ✔ )HORQ\ 2

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 6/13/2024                             6LJQDWXUHRI$86$
                     Case 1:24-cr-10173-DJC                       Document 51-1             Filed 06/13/24   Page 8 of 8
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Jesus LOPEZ MEDINA
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                    Count Numbers
                                                       Conspiracy to Distribute and to Possess with Intent
6HW
          21 U.S.C. § 846
                                                       to Distribute Controlled Substances                       1

6HW
          18 U.S.C. § 1956(h)                          Money Laundering Conspiracy                               2
          21 U.S.C. § 853                              Drug Forfeiture
6HW

          18 U.S.C. § 982(a)(1)                        Money Laundering Forfeiture
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21

 23-8317-PGL; 23-8397, 8398, 8399-PGL; 24-8102, 8103, 8104-PGL; 24-8117, 8118, 8119, 8120-PGL;
 24-8143, 8144, 8145, 8146, 8147, 8148, 8149, 8150, 8151, 8152, 8153-PGL




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
